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                    IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     )           CR 17-00101(01) LEK
                              )
          Plaintiff,          )
                              )
     vs.                      )
                              )
ANTHONY WILLIAMS,             )
                              )
          Defendant.          )
_____________________________ )


                    ORDER DENYING DEFENDANT’S MOTION FOR
                DISQUALIFICATION OF JUDGE KENNETH MANSFIELD

               Before the Court is pro se Defendant Anthony Williams’s

(“Defendant”) Motion for Disqualification of Judge

Kenneth Mansfield (“Motion”), filed on March 19, 2018.1             [Dkt.

no. 147.]       Plaintiff the United State of America (“the

Government”) filed its memorandum in opposition on April 17,

2018.       [Dkt. no. 218.]   The Court finds this matter suitable for

disposition without a hearing pursuant to Rule LR7.2(d) of the

Local Rules of Practice of the United States District Court for

the District of Hawai`i (“Local Rules”).          Defendant’s Motion is

hereby denied for the reasons set forth below.

                                 BACKGROUND

               Defendant has been charged with fifteen counts of wire

fraud, in violation of 18 U.S.C. § 1343, and seventeen counts of

mail fraud, in violation of 18 U.S.C. § 1341.           [Superseding


        1
            Defendant also has stand-by counsel, Lars Isaacson, Esq.
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Indictment, filed 3/28/18 (dkt. no. 154).]          Judge Mansfield has

presided over several proceedings in this case, including:

Defendant’s arraignment and plea hearings for the original

Indictment; and the hearing on Defendant’s Motion for Order to

Show Cause and Request for Expedited Hearing (“OSC Motion”) and

Motion for Funds to Purchase Legal Supplies at Government Expense

(“Supplies Motion”).2      [Minutes, filed 9/25/17 (dkt. no. 30);

Minutes, filed 9/29/17 (dkt. no. 35); Minutes, filed 3/2/18 (dkt.

no. 126).]    Judge Mansfield denied both the OSC Motion and the

Supplies Motion.      [Order, filed 3/7/18 (dkt. no. 132) (“3/7/18

Order”).]    At the September 29, 2017 hearing, Judge Mansfield

also: declared the case complex over Defendant’s objections;

granted the Government’s motion to detain Defendant without bail;

and denied as moot Defendant’s motion for the appointment of

counsel and Defendant’s motion for discovery.           [Minutes, filed

9/29/17 (dkt. no. 35), at 2.]        Judge Mansfield has also taken

other actions in this case, which do not appear to be at issue in

the instant Motion, including: signing forms approving payments

to Mr. Isaacson; [dkt. nos. 48, 50;] and granting Defendant’s

motion for leave to file exhibits in support of the OSC Motion,

[dkt. no. 130 (entering order granting motion for leave)].




      2
       Defendant filed the OSC Motion and the Supplies Motion on
February 22, 2018. [Dkt. nos. 117, 120.]

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             In the instant Motion, Defendant alleges he cannot have

a fair hearing in front of Judge Mansfield because “Judge

Mansfield has shown extreme bias and prejudice against” him

because he is a pro se defendant and because of Defendant’s race,

color, and/or nationality.       [Motion, Aff. at ¶¶ 1-2, 6.]

According to Defendant, Judge Mansfield has not shown him the

same courtesy he shows the Government’s attorneys.               [Id. at ¶ 2.]

Defendant contends that, at the March 2, 2018 hearing on the OSC

Motion and the Supplies Motion, Judge Mansfield’s disposition

toward him “was one of contempt, aggravation, vexation and

intolerance,” and Judge Mansfield seemed disinterested in

Defendant’s arguments and evidence.          [Id. at ¶¶ 3-4.]       He further

contends Judge Mansfield’s demeanor toward him has always been

negative, and he has never believed that Judge Mansfield was

impartial.    [Id. at ¶ 5.]     Defendant also states he filed “an

opposition” – i.e., a motion for reconsideration – of the 3/7/18

Order, but he believes Judge Mansfield will uphold his rulings

because of his bias/prejudice.        [Id. at ¶ 7.]

                                  STANDARD

             Defendant contends Judge Mansfield must be

disqualified, pursuant to either 28 U.S.C. § 144 or 28 U.S.C.

§ 455.    Section 144 states:

             Whenever a party to any proceeding in a district
             court makes and files a timely and sufficient
             affidavit that the judge before whom the matter is
             pending has a personal bias or prejudice either

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            against him or in favor of any adverse party, such
            judge shall proceed no further therein, but another judge shall b

            The affidavit shall state the facts and the
            reasons for the belief that bias or prejudice
            exists, and shall be filed not less than ten days
            before the beginning of the term at which the
            proceeding is to be heard, or good cause shall be
            shown for failure to file it within such time. A
            party may file only one such affidavit in any
            case. It shall be accompanied by a certificate of
            counsel of record stating that it is made in good
            faith.

Section 455 provides, in relevant part:

            (a) Any justice, judge, or magistrate judge of
            the United States shall disqualify himself in any
            proceeding in which his impartiality might
            reasonably be questioned.

            (b) He shall also disqualify himself in the
            following circumstances:

                  (1) Where he has a personal bias or
                  prejudice concerning a party[.]

            In denying Defendant’s prior motion to disqualify this

Court, [filed 3/19/18 (dkt. no. 147),] the district court

described the standards applicable to motions brought pursuant to

§ 144 and § 455.

                 “Under both recusal statutes, the substantive
            standard is whether a reasonable person with
            knowledge of all the facts would conclude that the
            judge’s impartiality might reasonably be
            questioned.” Pesnell v. Arsenault, 543 F.3d 1038,
            1043 (9th Cir. 2008) (quotation marks and
            alterations omitted), abrogated on other grounds
            by Simmons v. Himmelreich, 136 S. Ct. 1843
            (June 6, 2016). “The ‘reasonable person’ is not
            someone who is hypersensitive or unduly
            suspicious, but rather is a well-informed,
            thoughtful observer. . . . The standard must not
            be so broadly construed that it becomes, in

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            effect, presumptive, so that recusal is mandated
            upon the merest unsubstantiated suggestion of
            personal bias or prejudice.” United States v.
            Holland, 519 F.3d 909, 913 (9th Cir. 2008)
            (internal citation and quotation marks omitted).

                 Further, the alleged bias “must usually stem
            from an extrajudicial source.” Pesnell, 543 F.3d
            at 1044. In Liteky v. United States, the Supreme
            Court stated:

                  First, judicial rulings alone almost never
                  constitute a valid basis for a bias or
                  partiality motion. . . . . [sic] In and of
                  themselves . . . they cannot possibly show
                  reliance upon an extrajudicial source; and
                  can only in the rarest circumstances evidence
                  the degree of favoritism or antagonism
                  required . . . when no extrajudicial source
                  is involved. . . . Second, opinions formed
                  by the judge on the basis of facts introduced
                  or events occurring in the course of the
                  current proceedings, or of prior proceedings,
                  do not constitute a basis for a bias or
                  partiality motion unless they display a
                  deep-seated favoritism or antagonism that
                  would make fair judgment impossible. Thus,
                  judicial remarks during the course of a trial
                  that are critical or disapproving of, or even
                  hostile to, counsel, the parties, or their
                  cases, ordinarily do not support a bias or
                  partiality challenge. They may do so if they
                  reveal an opinion that derives from an
                  extrajudicial source; and they will do so if
                  they reveal such a high degree of favoritism
                  or antagonism as to make fair judgment
                  impossible.

             510 U.S. 540, 555 (1994).

                 “[E]xpressions of impatience,
            dissatisfaction, annoyance, and even anger are not
            grounds for establishing bias or impartiality, nor
            are a judge’s efforts at courtroom
            administration.” Pesnell, 543 F.3d at 1044
            (internal quotation marks omitted) (quoting
            Liteky, 510 U.S. at 555-56). . . .


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United States v. Williams, CR. NO. 17-00101 LEK (01), 2018 WL

2709312, at *2-3 (D. Hawai`i June 5, 2018) (alterations in

Williams).

                                 DISCUSSION

I.    Adverse Rulings

             Defendant argues Judge Mansfield’s rulings against him

are evidence of Judge Mansfield’s bias and prejudice and are

grounds for disqualification.        Defendant relies primarily on the

rulings in the 3/8/18 Order, but also other adverse rulings by

Judge Mansfield.      However,

             it is well-established that “[u]nfavorable rulings
             alone are legally insufficient to require recusal,
             even when the number of such unfavorable rulings
             is extraordinarily high on a statistical basis.”
             Beverly Hills Bancorp v. Hine, 752 F.2d 1334, 1341
             (9th Cir. 1984) (citation omitted); see also
             Leslie v. Grupo ICA, 198 F.3d 1152, 1160 (9th Cir.
             1999) (“[Appellant’s] allegations stem entirely
             from the district court judge’s adverse rulings.
             That is not an adequate basis for recusal.”).
             “[O]pinions formed by the judge on the basis of
             facts introduced or events occurring in the course
             of the current proceedings, or of prior
             proceedings, do not constitute a basis for a bias
             or partiality motion unless they display a
             deep-seated favoritism or antagonism that would
             make fair judgment impossible.” Liteky, 510 U.S.
             at 555 (emphasis added).

Williams, 2018 WL 2709312, at *3 (alterations and emphasis in

Williams).    To the extent Defendant wishes to challenge the

rulings that Judge Mansfield made, he must file a timely appeal.

Defendant’s disagreement with Judge Mansfield’s rulings is not

grounds for disqualification.        See id.

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II.    In-Court Proceedings

               The remainder of the arguments in Defendant’s Motion

relate to Judge Mansfield’s allegedly negative demeanor and

actions toward him during court proceedings.           Defendant has not

presented any evidence of Judge Mansfield’s alleged bias or

prejudice during proceedings in this case.          This Court has

reviewed the transcripts for the September 25, 2017,

September 29, 2017, and March 2, 2018 hearings.           [Trans. of

9/25/17 Hrg. (“9/25/17 Trans.”), filed 4/5/18 (dkt. no. 177);

Trans. of 9/29/17 Hrg. (“9/29/17 Trans.”), filed 4/4/18 (dkt.

no. 164); Trans. of 3/2/18 Hrg. (“3/2/18 Trans.”), filed 4/4/18

(dkt. no. 166).]      Nothing in those proceedings suggests that

Judge Mansfield holds “deep-seated favoritism or antagonism that

would make fair judgment impossible.”         See Liteky, 510 U.S. at

555.       To the contrary, they show that Judge Mansfield treated

Defendant respectfully, in the same manner that he treated the

attorneys.      For example, during the September 29, 2017 hearing,

Judge Mansfield consistently addressed Defendant as “sir” or

“Mr. Williams,” and he addressed the attorneys in the same manner

– as “sir” or “Mr. Isaacson” and “Mr. Johnson.”3           See, e.g.,

9/29/17 Trans. at 3-5, 9-10, 16.          In conducting the colloquy with

Defendant to determine whether he should be allowed to proceed



       3
       Ronald Johnson is one of the Assistant United States
Attorneys assigned to this case.

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pro se, Judge Mansfield told Defendant, “I’m confident you know

what you’re doing.”      [Id. at 4.]       Further, Judge Mansfield was

patient with Defendant when Defendant would try to make arguments

that went beyond the scope of Judge Mansfield’s question to him

or when Defendant would interrupt Mr. Johnson.           See, e.g., id.

at 12, 19-21.     Judge Mansfield presided over the September 25,

2017 hearing and the March 2, 2018 hearing in the same manner.

See generally 9/25/17 Trans.; 3/2/18 Trans.          Thus, nothing in the

transcripts of the proceedings before Judge Mansfield supports

Defendant’s argument that Judge Mansfield has a bias or prejudice

in this case.

            Further, even if there was some aspect of Judge

Mansfield’s demeanor or actions during those proceedings that is

not apparent from the transcripts, it would not support

disqualification in this case.        This district court has

recognized that “the ‘judge’s conduct during the proceedings

should not, except in the “rarest of circumstances” form the sole

basis for recusal under § 455(a).’”          Williams, 2018 WL 2709312,

at *4 (citing Holland, 519 F.3d 909, 913-14).           Defendant has

failed to show that Judge Mansfield’s demeanor and actions during

the proceedings in this case fall within the “rarest of

circumstances” that warrant disqualification.

            Thus, this Court rejects all of Defendant’s arguments

in support of his request to have Judge Mansfield disqualified.


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No “reasonable person with knowledge of all the facts would

conclude that [Judge Mansfield’s] impartiality might reasonably

be questioned.”     See Pesnell, 543 F.3d at 1043.

                                 CONCLUSION

            On the basis of the foregoing, Defendant’s Motion for

Disqualification of Judge Kenneth Mansfield, filed March 19,

2018, is HEREBY DENIED.

            IT IS SO ORDERED.

            DATED AT HONOLULU, HAWAII, September 26, 2018.



                                     /s/ Leslie E. Kobayashi
                                    Leslie E. Kobayashi
                                    United States District Judge




USA VS. ANTHONY WILLIAMS; CR 17-00101(01) LEK; ORDER DENYING
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